C.]A 10 APPOINTMENT OF AND AUTHORITY TO PAY COURT APPOlNTED COUNSEL

4 Case 2:Ol-cr-20179-.]PI\/| Document 47 Filed 05/12/05 Page hot

 

. cIR./Dls'rmrv. Com~:
'I`NW

2. PERSON REPRESENH:D
Hegeland, Janet

 

voUCHER NUMBEH gm

 

§ TFFFW

 

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MAG. DKTJDEF. NUM`BER 4. DIST. DK'I`JDEF. N`UMBER

2501-020179-001

5. APFEALS DKT.IDEF. NUMBER 6. OTH_ER DKT. NUMBER

 

1. IN CASEM'ITER OF a. PAYMENT CATEGORY
U.S. v. Hogeland Felony

(Clse Nlme}

 

9. TYPE PERSON REPRESENTED
Adult Dei`endant

]l]. REP RESENTATION 'PI'PE
{See lnstructlons)

Supervlsed Release

 

 

ll. OFFENSE[S) CH ARGED (Cife U.S. Ct!de, Tillt.' & Sectinn) ii more then one ofTe
l) 18 3.F -- ACCESSORY AFTER THE FACT

nse, list (up to iive] mejnr offenses chlrged, according to severity olnfl'ense.

 

IZ. ATTORNEY'S NAME
AND MAILING ADDR

Erwin, J ake E

200 Jef’ferson Ave
Suite 1313

Memphis TN 33103

EgFSlrsl Nlme, M.[., Lnsl Nlme, including lny sufl'ls)

Teiephone Number;

13. COURT ORDER

[E 0 Appointing Counlel

[:l l" Subl For |`ederl| Delender
l:l l’ Subl For Plnel Altnrney

l'rior Atlnrney's Nnrne:

l:l C Co-Counsel
l:l R Subs For Retlined At¢orney
l:l ‘l' Sti\ndby Cnunse|

 

Appni_ntn\enl Daie:

m Beenuse the shove-named person represented hls testified under oath or has
otherwise satisfied this court tim he or she (1) is financially unable m employ counsel end
(I} does not wish lo wli\re couolel, md because the int l'_iustice so require, the

  

 

14. NAME AND MAILING ADDR.ESS OF LAW FIRM (only provide per instructions)

This document entered on the docket sheet in compliance
with Ru|e 55 and!or 32(b) FHCrP en -

w

   
   

attorney whc:e name lppelrs in item ll is lppo' to re esenl this person in this c\se.
or

l:| oth ( draw M
Signature ol' Presldlng .ludicill Dmcer or By Ortler of tile Court

01/07/?00§
Dlte ofOrder

       

Nune Pro Tunc Dsie

Replymenl or partial repayment ordered from the persons represented for this service lt

 

 

|:lYES l'_'l NO

lime of lppoiotment.

 
  

 

 

 

 

   

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 
 
 
 
  
 
 
 
 
  
  

  

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cATEGORIEs mem itemization overview with dump CEH,{§ESD AB§WI§)\SAL
15. a. Arraignment andfor P|ea _ n a
b. Bni] and Detention Hearings _ l m
c. Motion Hearings ‘ §
fl d. Trial , -
C e. Sentencing Hearings
3 f. Revocation Hearings
tr g. Appeals Court
h. Other (Specify on additional sheets)
(Rate per hour =$ } TOTAI_S:
16. a. interviews and Conferer:ces
{:1) b. Obtaining and reviewing records
o c. Legal research and brief writing
; d. Travel time
§ e. lnvesrigativ e and Othcr work (spe¢.-ify an munn-ml she¢¢s)
§ [Rate per hour = 5 ) T()TAIB:
l'I. Trave| Expenses (lodging, parking, menls, mileage, etc.)
Other Expenses (other than ex ert, transcri ts etc.)

 
    

   

 

   
     

 

 

 

Olhertl'lln from the tourt, have you. or loyour knowledge has anyone else. received payment(
representation? YES NO liyes, give details on lddltinnl| lheets.
l swear urnffirm the truth or correctness ofthe above statementsl

Slgnature of Attorney:

' l --.
. ` __ . . . . . __,“ ~\,} .»~\ .`
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19. CERTIFICA'“ON OF ATTORNEY."PAYEE FOR THE PERIOD 0 F SERVICE 20. A.PPOINTMENT TERMINATIDN DATE ZI.BSEE`BISPO Sl'l'lON

lF omER THAN cAsE coMPLl-:rloN ' Cn
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compensltion or lnyth|ng or value] from my other source in connection with this

Dlte:

 

 

  

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23. lN COURTMCOMP. n ) 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 27. TOTAL AM‘[`.APPRJCERT
23. SlGNATU'RE OF THE PRESIDING JUDlCIAL OFFICER DATE 281 JUDGE 1 MAG. JUDGE COD£
19. [N COURT COMP. 30. OUT OF COURT C()M}’. Jl. TRAVEL EXPENSES ]1. DTH.ER EXPENSES 33. TOTAL A.MT. APPRCIVED

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UNITED sTATE DISTRIC COURT - WTERN D'S'TRCT OFTENNESSEE

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Honorablc J on McCalla
US DISTRICT COURT

